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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION

 TEXAS, KANSAS, LOUISIANA,                   §
 INDIANA, WISCONSIN, and                     §
 NEBRASKA,                                   §
                                             §
        Plaintiffs,                          §
                                             §
 v.                                          §
                                             §
 UNITED STATES OF AMERICA,                   §
 UNITED STATES DEPARTMENT                    §
 OF HEALTH AND HUMAN                         §      Civil Action No. 7:15-cv-00151-O
 SERVICES, XAVIER BECERRA, in                §
 his official capacity as Secretary of       §
 Health and Human Services,                  §
 UNITED STATES INTERNAL                      §
 REVENUE SERVICE, and                        §
 CHARLES P. RETTIG, in his official          §
 capacity as COMMISSIONER OF                 §
 INTERNAL REVENUE,                           §
                                             §
        Defendants.                          §


                              JOINT STATUS REPORT


       Plaintiffs and Defendants (collectively, the “Parties”), by and through their

respective counsel, and pursuant to the Court’s April 16, 2021 Order, ECF No. 168,

provide the following status report:

       1.      This Court entered a final judgment on July 30, 2019. See ECF No. 156.

       2.      Plaintiffs, except for Wisconsin, and Defendants appealed. See ECF Nos.

161, 162.

       3.      The Fifth Circuit issued its decision on July 31, 2020. See Texas v. Rettig,

968 F.3d 402 (5th Cir. 2020). The Fifth Circuit subsequently withdrew that opinion,

substituting it with Texas v. Rettig, 987 F.3d 518 (5th Cir. 2021). The Fifth Circuit

affirmed in part, reversed in part, dismissed in part, and vacated in part, rendering

judgment for the United States. Id. at 536-37.



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       4.      Plaintiffs filed a petition for rehearing en banc, which the Fifth Circuit

denied, over a dissent, on April 9, 2021. See Texas v. Rettig, No. 18-10545, 2021 WL

1324382 (5th Cir. Apr. 9, 2021).

       5.      This Court directed the parties to file a joint status report within 10 days

following exhaustion of all appellate avenues. See ECF No. 168.

       6.      Plaintiffs then filed a petition for a writ of certiorari, which the Supreme

Court denied on March 28, 2022. See Texas v. Commissioner of Internal Revenue, No.

21-379, 2022 WL 892263 (Mar. 28, 2022).

       7.      The Fifth Circuit has rendered judgment for the United States in this

matter, and all appellate avenues have now been exhausted. Defendants respectfully

submit that, consistent with the Fifth Circuit’s mandate, this Court should enter a

final judgment in Defendants’ favor and direct the Clerk to close this case. Plaintiffs

take the position that the Fifth Circuit rendering judgment obviates any need for this

Court to separately issue a judgment and, thus, respectfully request that the Court

simply direct the Clerk to close the case.

       WHEREFORE, Defendants respectfully request that this Court enter a final

judgment in Defendants’ favor and direct the Clerk to close this case, and Plaintiffs

respectfully ask that the Court direct the Clerk to close this case.




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       Respectfully submitted this 7th day of April, 2022.


       For Plaintiffs Texas, Kansas, Louisiana, Indiana, and Nebraska:

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                        CERTIFICATE OF CONFERENCE

        I hereby certify that Plaintiffs’ counsel jointly prepared this status report

 with Defendants’ counsel.


                                            /s/ William T. Thompson
                                            WILLIAM T. THOMPSON


                           CERTIFICATE OF SERVICE

        I hereby certify that on April 7, 2022, I electronically filed the foregoing

document through the Court’s ECF system, which automatically serves notification

of the filing on counsel for all parties.

                                            /s/ William T. Thompson
                                            WILLIAM T. THOMPSON




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